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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA
Vv. Case No. 1:08-cr-271-RCL-1
EDDIE RAY KAHN,

Defendant.

MEMORANDUM ORDER

Defendant Eddie Ray Kahn founded and operated a large-scale organization that sold tax
defiance schemes to help thousands of individuals obstruct the Internal Revenue Service’s efforts
to collect taxes. ECF No. 370. Afier a three-week jury trial, defendant was found guilty of
conspiring to defraud the United States and commit mail fraud in violation of 18 U.S.C. §§ 2 &
371 (Count 1) and mail fraud in violation of 18 U.S.C. §§ 2 & 1341 (Count 5). ECF No. 328 at 1.
On August 30, 2010, the Court sentenced defendant to 60 months’ imprisonment on Count 1 and
240 months’ imprisonment on Count 5, to run concurrently, followed by 36 months of supervised
release. ECF No. 409. As of today, and accounting for good time, defendant has 59 months
remaining on his term of imprisonment.

Defendant now moves for compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A).
ECF No. 559. He argues that his advanced age, pulmonary fibrosis, latent tuberculosis, and other
serious medical conditions greatly increase his risk of severe illness or death if he contracts
COVID-19 in prison. ECF No. 559 at 16 & 26—33. He asks the Couit torreduce his sentence fo
time served or, alternatively, to permit him to “serve some or all of his supervised release term on
home detention.” /d. at 7. In response, the Government says that “given the particularities of this

defendant’s medical problems, the pandemic-related circumstances of his incarceration at
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CI Rivers, and specific application of the § 3553(a) factors in this case,” it does not object to the
release of defendant to serve the remaining 59 months of his term of imprisonment on home
detention. ECF No. 564. Defendant replied, again requesting his unconditional release. ECF
No. 565. Alternatively, defendant requests that the Court should reine his term of imprisonment
to time served and order that he serve the first six months of his release on home detention as a
condition of his supervised release. Jd. at 1—2.

Before the Court can grant defendant’s motion for compassionate release under 18 U.S.C.
§ 3582(c)(1)(A), ECF No. 559, three requirements must be met. First, the defendant must have
exhausted his administrative remedies. This requires a showing that “defendant has fully exhausted
all administrative rights to appeal a failure of the Bureau. of Prisons to bring a motion on the
defendant’s behalf” or that 30 days have elapsed since “the receipt of such a request by the warden
of the defendant’s facility,” whichever is earlier. 18 U.S.C. § 3582(c)(1)(A). Second, the Court
must find “extraordinary and compelling reasons” warranting a reduction of the sentence originally
imposed. Jd. Third, the Court must find that “the defendant is not a danger to the safety of any
other person or to the community.” U.S.S.G. § 1B1.13 (Sentencing Commission’s policy statement
on sentence reductions under § 3582(c)(1)(A)); see § 3582(c)(1)(A) (requiring that a reduction in
sentence is “consistent with applicable policy statements issued by the Sentencing Commission’).

If these three requirements have been met, § 3582(c)(1)(A) provides that the Court “may
reduce the term of imprisonment (and may impose a term of probation or supervised release with
or without conditions that does not exceed the unserved portion of the original term of
imprisonment),” after considering the relevant factors set forth in § 3553(a). Those factors include
“the nature and circumstances of the offense and the history and characteristics of the defendant”

and the need for the sentence imposed to (A) “reflect the seriousness of the offense, to promote
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respect for the law, and to provide just punishment for the offense,” (B) “to afford adequate
deterrence to criminal conduct,” (C) “to protect the public from further crimes of the defendant,”
and (D) “to provide the defendant with needed educational or vocational training, medical care, or
other correctional treatment in the most effective manner.” 18 USC. § 3553(a).

Here, both parties believe that the first three requirements have been met. ECF Nos. 559 at
25-42 & 564 at 1, 5-9. The Court agrees. As a threshold matter, defendant has properly exhausted
his administrative remedies. See ECF No. 559-2 at 1-4 (letter to BOP on 5/18/2020 asking for
early release); id at 5 (response from BOP on 6/9/2020 denying defendant’s request); see
also U.S.C. § 3582(c)(1)(A). And on the merits, the Court agrees that “extraordinary and
compelling reasons” warrant a reduction in defendant’s sentence. § 3582(c)(1)(A). At age seventy-
seven, défendant suffers from serious medical conditions ‘including pulmonary fibrosis (lung
scarring from pneumonia), latent tuberculosis, undiagnosed hypertension, and peripheral
neuropathy. ECF Nos. 559 at 16 & 564 at 4. Though the “mere existence of COVID-19 in society
and the possibility that it might spread to a particular prison alone cannot independently justify
compassionate release,” United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020), the Court finds
that defendant’s age, health problems, and increased risk of death or serious illness should he
contract the virus amount to “extraordinary” circumstances warranting a sentence reduction.
§ 3582(c)(1)(A). The Court also finds that at age seventy-seven, defendant does not pose a danger
to any other person or to the community. See U.S.S.G. § 1B1.13. This finding is bolstered by the
fact that defendant has no history of committing violent crimes. In sum, the Court agrees with the
parties that a sentence reduction is warranted under § 3582(c)(1)(A).

The only issue left to decide, then, is what that reduced sentence should be. To do so, the

Court must consider the relevant factors set forth in § 3553(a). See § 3582(c)(1)(A). The parties
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agree that defendant’s 240-month term of imprisonment should be reduced to time served. See
ECF Nos. 565 at 2 & 564 at 1-2. But they disagree as to the conditions upon release. The
Government asks the Court to place defendant on home detention for 59 months, which is the time
remaining on his original sentence of imprisonment. ECF No. 564 at 1-2. Defendant argues that
if he must be placed on home detention, the Court should limit that detention to six months. ECF
No. 565 at 2.

After considering the factors set forth in § 3553(a), the Court will reduce defendant’s term
of imprisonment to time served, impose a term of supervised release of 36 months (which is the
term of supervised release originally imposed, ECF No. 409), and order that defendant be placed
on home detention for the duration of his supervised release. The Court finds that this sentence
reduction reflects the seriousness of defendant’s offense and is sufficient to deter future criminal
conduct. Defendant was detained for approximately two years awaiting trial and sentencing on
these charges and has served over ten years in prison on these offenses. See ECF No. 564 at 3.
Factoring in good time credit, that amounts to over 70% of defendant’s original term of
imprisonment. See ECF Nos. 559 at 5 & 564 at 2. And during his incarceration, defendant has
maintained a clean disciplinary record. See ECF No. 564 at 8. The Court is fully aware of the
severity of defendant’s offenses against the United States and the need to punish those offenses.
When it sentenced defendant for his serious misconduct, the Court decided that 20 years was a
“sufficient, but not greater than necessary” punishment. § 3553(a). Yet given defendant’s age and
medical conditions, the Court now finds that requiring defendant to serve the remaining 59 months
of his sentence in prison would impose a punishment greater than necessary. Instead, the Court
will impose 36 months of home detention, which it finds appropriate for purposes of punishment

and deterrence under the § 3553(a) factors.
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Accordingly, for the reasons explained above, it is hereby

ORDERED that pursuant to the authority vested in this Court to reduce a previously
imposed term of iiopeisonment under 18 U.S.C. § 3582(c)(1)(A), defendant’s motion for
compassionate release, ECF No. 559, is GRANTED IN PART and DENIED IN PART; and it
is further

ORDERED that defendant’s original term of imprisonment, ECF No. 409, is hereby
REDUCED to time served;-and it is further

ORDERED that defendant shall undergo a 14-day quarantine prior to his release from
prison to mitigate the spread of COVID-19; and it is. further

ORDERED that within 72 hours of release from custody, defendant shall report to the
Probation Office of the District of Columbia (or any other supervising district) to commence the
36-month term of supervised release that the original judgment imposed; and it is further

ORDERED that the conditions of supervised release that this Court imposed in the original
judgment will be MODIFIED to provide as follows: Defendant is required to serve his 36-month
term of supervised release under home detention. Defendant will be monitored by the form of
location-monitoring technology indicated herein for a period of 36 months and shall follow the
rules and regulations of the location-monitoring program. The cost of the program is waived.
Location-monitoring technology shall be at the discretion of the Probation Officer, including:
Radio Frequency (RF) Monitoring, -GPS Monitoring (including hybrid GPS), or Voice
Recognition. This form of location-monitoring technology shall be used to monitor the following
restriction on defendant’s movement in the community: defendant is restricted to his residence at

all times except for employment, education, religious services, medical, substance abuse, or mental
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health treatment, attorney visits, court appearances, court-ordered obligations, or other activities
as pre-approved by the Probation Office; and it is further
ORDERED that defendant shall abide by all other supervised release conditions set forth

in the original judgment, ECF No. 409.

It is SO ORDERED.

Date: December =42020 “Cores q: Fon Lyte

Hon. Royce C. Lamberth
United States District Judge
